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                         IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                CASE NO.: 0:19-cv-61847-XXXX

 LIDIA SPICER,

        Plaintiff,

 vs.

 RADER MANAGEMENT, CORP.,
 JOG DONUTS, INC.,
 JOHN RADER, individually, and
 GLORIA RADER, individually,

       Defendants.
 ________________________________________________/

                                           COMPLAINT

        Plaintiff, LIDIA SPICER (“Plaintiff”), on behalf of herself and all others similarly situated

 under 29 U.S.C. § 216(b), hereby sues Defendants RADER MANAGEMENT CORP., JOG

 DONUTS, INC., JOHN RADER, individually, and GLORIA RADER, individually (collectively

 “Defendants”), and alleges as follows:

                                          INTRODUCTION

        1.      This is an action for unpaid overtime wages pursuant to the Fair Labor Standards

 Act, 29 U.S.C. §§ 201 et seq. (“FLSA”).

        2.      Plaintiff seeks damages within this court’s jurisdictional requirements, a reasonable

 attorneys’ fee and costs, and all other remedies allowable by law.




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                             PARTIES, JURISDICTION AND VENUE

         3.      Rader Management, Corp. (“Rader Management”) is, and was, a non-Florida profit

 corporation that conducted business in Broward County, Florida during the relevant period.

         4.      Jog Donuts, Inc. (“Jog Donuts”) is, and was, a Florida profit corporation that

 conducted business in Broward County, Florida during the relevant period.

         5.      John Rader (“John”) is, and was, an owner and operator of Rader Management and

 Jog Donuts, and conducted business in Broward County, Florida during the relevant period.

         6.      Gloria Rader (“Gloria”) shared in the responsibility of reviewing Plaintiff’s work

 hours and paying Plaintiff for her work hours.

         7.      Plaintiff was formerly employed by Defendants and performed work for

 Defendants in Broward County.

         8.      Venue is proper in this Court because Defendants transact business in this district,

 Defendants maintain a principal place of business in this district, Defendants employed Plaintiff

 in this district and the claims arose within the district.

                                          GENERAL ALLEGATIONS

     A. Defendants’ Business and Employment Of Plaintiff

         9.      Rader Management operates as a Dunkin’ Donuts store.

         10.     Jog Donuts operates as a Dunkin’ Donuts store

         11.     Plaintiff began working for Defendants in 2010/2011.

         12.     Plaintiff’s employment ended on or about June 26, 2017.

         13.     Plaintiff performed work as a housekeeper/nanny for Defendants and was paid her

 regular wages through Rader Management and Jog Donuts.



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          14.   Defendants were Plaintiff’s employer, joint employer, or co-employer for purposes

 of the FLSA as the term employer is defined by 29 U.S.C. § 203 during the relevant period.

    B. Defendants’ Illegal Payment Practices.

          15.   During her employment with Defendants, Plaintiff frequently worked over 40 hours

 a week.

          16.   Plaintiff typically worked thirteen (13) hours a day, six days per week. This totals

 seventy-eight (78) hours per week.

          17.   During her employment, Plaintiff was generally paid $600.00 per week but failed

 to pay such money on a “free and clear” basis as required by the FLSA.

          18.   Specifically, Plaintiff was paid some wages and then instructed by Gloria Rader to

 either provide money for Gloria’s son, Craig Rader, or otherwise pay for certain bills and items.

          19.   Plaintiff would often put these expenses on her personal credit card(s).

          20.   Gloria would repeatedly promise to pay Plaintiff back but currently owes Plaintiff

 tens of thousands of dollars.

          21.   Throughout Plaintiff’s employment, Defendants had knowledge of Plaintiff’s

 overtime hours, but purposefully failed to provide her complete and adequate overtime pay in

 violation of the FLSA.

          22.   Defendants willfully and intentionally refused to pay Plaintiff in accordance with

 the FLSA.

          23.   Moreover, Defendants failed to maintain proper time records for Plaintiff’s work

 hours.

          24.   Plaintiff has retained undersigned counsel and agreed to pay a reasonable attorneys’

 fee for all services rendered.

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                             COUNT I
   OVERTIME VIOLATIONS AGAINST RADER MANAGEMENT UNDER THE FAIR
                LABOR STANDARDS ACT AS TO PLAINTIFF

        25.     Plaintiff re-alleges and incorporates by reference the allegations in paragraphs 1

 through 24 above as if fully set forth herein.

        26.     Upon information and belief, Rader Management has an annual volume of sales or

 business exceeded $500,000 during the relevant period.

        27.     As part of its business, Rader Management purchased goods and materials that

 traveled through interstate commerce.

        28.     At all relevant times, Rader Management employed two or more employees,

 including Plaintiff, that customarily, continually, and regularly handled goods and materials that

 i) were purchased from a person or entity outside the state of Florida and/or ii) were purchased in

 Florida but had previously traveled through interstate commerce.

        29.     Upon information and belief, Rader Management obtained and solicited funds from

 non-Florida sources, accepted funds from non-Florida sources, used telephonic transmissions

 going over state lines to do its business, transmitted funds outside the State of Florida, used

 electronic means to market and run its business in a way that was not limited to Florida, and

 otherwise regularly engaged in interstate commerce during the relevant period.

        30.     Rader Management, upon information and belief, accepted credit card payments,

 wire transfers, and other forms of payments made or processed outside the state of Florida during

 the relevant time period.

        31.     Rader Management is an employer engaged in interstate commerce and subject to

 the FLSA.



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        32.     During her employment, Rader Management paid Plaintiff’s weekly wages and had

 knowledge of Plaintiff working overtime hours for which Plaintiff was not compensated at a rate

 of time-and-a-half her regularly rate of pay as required by the FLSA.

        33.     Plaintiff is owed unpaid overtime compensation pursuant to the FLSA.

        34.     In addition, Rader Management is liable for double the overtime amounts owed as

 liquidated damages under the FLSA as a result of its intentional and willful violations for up to the

 three-year statute of limitations afforded by the FLSA.

        WHEREFORE, Plaintiff respectfully requests that the Court:

        a.      Enter judgment for Plaintiff against Rader Management under the FLSA;

        b.      Award Plaintiff actual damages for the unpaid overtime wages;

        c.      Award Plaintiff liquidated damages;

        d.      Award Plaintiff attorneys’ fees and costs;

        e.      Award Plaintiff all recoverable interest; and

        f.      Award any other relief this Honorable Court deems just and proper.

                              COUNT II
   OVERTIME VIOLATIONS AGAINST JOG DONUTS UNDER THE FAIR LABOR
  STANDARDS ACT AS TO PLAINTIFF AND ALL OTHERS SIMILARLY SITUATED

        35.     Plaintiff re-alleges and incorporates by reference the allegations in paragraphs 1

 through 24 above as if fully set forth herein.

        36.     Upon information and belief, Jog Donuts’ annual volume of sales or business

 exceeded $500,000 during the relevant period.

        37.     As part of its business, Jog Donuts purchased goods and materials that traveled

 through interstate commerce.



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         38.    At all relevant times, Jog Donuts employed two or more employees, including

 Plaintiff, that customarily, continually, and regularly handled goods and materials that i) were

 purchased from a person or entity outside the state of Florida and/or ii) were purchased in Florida

 but had previously traveled through interstate commerce.

         39.    Upon information and belief, Jog Donuts obtained and solicited funds from non-

 Florida sources, accepted funds from non-Florida sources, used telephonic transmissions going

 over state lines to do its business, transmitted funds outside the State of Florida, used electronic

 means to market and run its business in a way that was not limited to Florida, and otherwise

 regularly engaged in interstate commerce during the relevant period.

         40.    Jog Donuts, upon information and belief, accepted credit card payments, wire

 transfers, and other forms of payments made or processed outside the state of Florida during the

 relevant.

         41.    Jog Donuts is an employer engaged in interstate commerce and subject to the

 FLSA.

         42.    During her employment with Jog Donuts paid Plaintiff’s weekly wages and had

 knowledge of Plaintiff working overtime hours for which Plaintiff was not compensated at a rate

 of time-and-a-half her regularly rate of pay as required by the FLSA

         43.    Plaintiff is owed unpaid overtime compensation pursuant to the FLSA.

         44.    In addition, Jog Donuts is liable for double the overtime amounts owed as

 liquidated damages under the FLSA as a result of its intentional and willful violations for up to the

 three-year statute of limitations afforded by the FLSA.




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           WHEREFORE, Plaintiff respectfully requests that the Court:

           a.    Enter judgment for Plaintiff against Jog Donuts under the FLSA;

           b.    Award Plaintiff actual damages for the unpaid overtime wages;

           c.    Award Plaintiff liquidated damages;

           d.    Award Plaintiff attorneys’ fees and costs;

           e.    Award Plaintiff all recoverable interest; and

           f.    Award any other relief this Honorable Court deems just and proper.

                              COUNT III
   OVERTIME VIOLATIONS AGAINST JOHN RADER UNDER THE FAIR LABOR
  STANDARDS ACT AS TO PLAINTIFF AND ALL OTHERS SIMILARLY SITUATED

           45.   Plaintiff re-alleges and incorporates by reference the allegations in paragraphs 1

 through 24 above as if fully set forth herein.

           46.    During the entire relevant period, John Rader was an Executive Officer and owner

 of Rader Management and Jog Donuts.

           47.   During the relevant period, John Rader operated the day-to-day activities of Rader

 Management and Jog Donuts, had supervisory authority over Plaintiff, and was partially or totally

 responsible for paying Plaintiff’s wages for the hours she worked for both companies.

           48.   John Rader was Plaintiff’s employer, joint employer, or co-employer for purposes

 of the FLSA as the term employer is defined by 29 U.S.C. § 203 during some or all of the relevant

 period.

           49.   During her employment with Defendants, Plaintiff worked overtime hours for

 which she was not compensated at a rate of time-and-a-half her regularly rate of pay as required

 by the FLSA.

           50.   John Rader had knowledge of these overtime wages.

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           51.     Plaintiff is owed unpaid overtime compensation pursuant to the FLSA.

           52.     John Rader is also jointly and severally liable for double the overtime amounts

 owed as liquidated damages under the FLSA as a result of intentional and willful violations of the

 FLSA.

           WHEREFORE, Plaintiff respectfully requests that the Court:

           a.      Enter judgment for Plaintiff against John Rader under the FLSA;

           b.      Award Plaintiff actual damages for the unpaid overtime wages;

           c.      Award Plaintiff liquidated damages;

           d.      Award Plaintiff attorneys’ fees and costs;

           e.      Award Plaintiff all recoverable interest; and

           f.      Award any other relief this Honorable Court deems just and proper.


                                     COUNT IV
                OVERTIME VIOLATIONS AGAINST GLORIA RADER UNDER THE
                             FAIR LABOR STANDARDS ACT

           53.     Plaintiff re-alleges and incorporates by reference the allegations in paragraphs 1

 through 24 above as if fully set forth herein.

           54.     During the entire relevant period, Gloria Rader was the direct contact for Plaintiff

 for employment issues and was partially or totally responsible for paying Plaintiff’s wages for the

 hours she worked for corporate Defendants.

           55.     Gloria Rader was Plaintiff’s employer, joint employer, or co-employer for purposes

 of the FLSA as the term employer is defined by 29 U.S.C. § 203 during some or all of the relevant

 period.




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         56.     During her employment with Defendants, Plaintiff worked overtime hours for

 which she was not compensated at a rate of time-and-a-half her regularly rate of pay as required

 by the FLSA.

         57.     Gloria Rader had knowledge of these overtime wages.

         58.     Plaintiff is owed unpaid overtime compensation pursuant to the FLSA.

         59.     Gloria Rader is also jointly and severally liable for double the overtime amounts

 owed as liquidated damages under the FLSA as a result of intentional and willful violations of the

 FLSA.

         WHEREFORE, Plaintiff respectfully requests that the Court:

         a.      Enter judgment for Plaintiff against Gloria Rader under the FLSA;

         b.      Award Plaintiff actual damages for the unpaid overtime wages;

         c.      Award Plaintiff liquidated damages;

         d.      Award Plaintiff attorneys’ fees and costs;

         e.      Award Plaintiff all recoverable interest; and

         f.      Award any other relief this Honorable Court deems just and proper.


                                   COUNT V
              MINIMUM WAGE VIOLATIONS AGAINST RADER MANAGEMENT
                      UNDER THE FAIR LABOR STANDARDS ACT

         60.     Plaintiff re-alleges and incorporates by reference the allegations in paragraphs 1

 through 24 above as if fully set forth herein.

         61.     Upon information and belief, Rader Management has an annual volume of sales or

 business exceeded $500,000 during the relevant period.

         62.     As part of its business, Rader Management purchased goods and materials that

 traveled through interstate commerce.
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          63.    At all relevant times, Rader Management employed two or more employees,

  including Plaintiff, that customarily, continually, and regularly handled goods and materials that

  i) were purchased from a person or entity outside the state of Florida and/or ii) were purchased in

  Florida but had previously traveled through interstate commerce.

          64.    Upon information and belief, Rader Management obtained and solicited funds from

  non-Florida sources, accepted funds from non-Florida sources, used telephonic transmissions

  going over state lines to do its business, transmitted funds outside the State of Florida, used

  electronic means to market and run its business in a way that was not limited to Florida, and

  otherwise regularly engaged in interstate commerce during the relevant period.

          65.    Rader Management, upon information and belief, accepted credit card payments,

  wire transfers, and other forms of payments made or processed outside the state of Florida during

  the relevant time period.

          66.    Rader Management is an employer engaged in interstate commerce and subject to

  the FLSA.

          67.    During her employment, Rader Management paid Plaintiff’s weekly wages, but

  such wages were not paid “free and clear” as required by the FLSA.

          68.    Due to this failure to pay wages in a lawful “free and clear” manner, Plaintiff was

  not properly paid an hourly minimum wage for each and every hour worked as required by the

  FLSA.

          69.    Plaintiff is owed unpaid minimum wage compensation pursuant to the FLSA.

          70.    In addition, Rader Management is liable for double the minimum wage amounts

  owed as liquidated damages under the FLSA as a result of its intentional and willful violations for

  up to the three-year statute of limitations afforded by the FLSA.

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         WHEREFORE, Plaintiff respectfully requests that the Court:

         a.      Enter judgment for Plaintiff against Rader Management under the FLSA;

         b.      Award Plaintiff actual damages for the unpaid minimum wages;

         c.      Award Plaintiff liquidated damages;

         d.      Award Plaintiff attorneys’ fees and costs;

         e.      Award Plaintiff all recoverable interest; and

         f.      Award any other relief this Honorable Court deems just and proper.

                               COUNT VI
          MINIMUM WAGE VIOLATIONS AGAINST JOG DONUTS UNDER THE
                       FAIR LABOR STANDARDS ACT

         71.     Plaintiff re-alleges and incorporates by reference the allegations in paragraphs 1

  through 24 above as if fully set forth herein.

         72.     Upon information and belief, Jog Donuts’ annual volume of sales or business

  exceeded $500,000 during the relevant period.

         73.     As part of its business, Jog Donuts purchased goods and materials that traveled

  through interstate commerce.

         74.     At all relevant times, Jog Donuts employed two or more employees, including

  Plaintiff, that customarily, continually, and regularly handled goods and materials that i) were

  purchased from a person or entity outside the state of Florida and/or ii) were purchased in Florida

  but had previously traveled through interstate commerce.

         75.     Upon information and belief, Jog Donuts obtained and solicited funds from non-

  Florida sources, accepted funds from non-Florida sources, used telephonic transmissions going

  over state lines to do its business, transmitted funds outside the State of Florida, used electronic



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  means to market and run its business in a way that was not limited to Florida, and otherwise

  regularly engaged in interstate commerce during the relevant period.

          76.    Jog Donuts, upon information and belief, accepted credit card payments, wire

  transfers, and other forms of payments made or processed outside the state of Florida during the

  relevant.

          77.    Jog Donuts is an employer engaged in interstate commerce and subject to the

  FLSA.

          78.    During her employment, Jog Donuts paid Plaintiff’s weekly wages, but such wages

  were not paid “free and clear” as required by the FLSA.

          79.    Due to this failure to pay wages in a lawful “free and clear” manner, Plaintiff was

  not properly paid an hourly minimum wage for each and every hour worked as required by the

  FLSA.

          80.    Plaintiff is owed unpaid minimum wage compensation pursuant to the FLSA.

          81.    In addition, Jog Donuts is liable for double the minimum wage amounts owed as

  liquidated damages under the FLSA as a result of its intentional and willful violations for up to the

  three-year statute of limitations afforded by the FLSA.

          WHEREFORE, Plaintiff respectfully requests that the Court:

          a.     Enter judgment for Plaintiff against Jog Donuts under the FLSA;

          b.     Award Plaintiff actual damages for the unpaid minimum wages;

          c.     Award Plaintiff liquidated damages;

          d.     Award Plaintiff attorneys’ fees and costs;

          e.     Award Plaintiff all recoverable interest; and

          f.     Award any other relief this Honorable Court deems just and proper.

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                                     COUNT VII
                 MINIMUM WAGE VIOLATIONS AGAINST JOHN RADER UNDER
                    THE FAIR LABOR STANDARDS ACT AS TO PLAINTIFF
                         AND ALL OTHERS SIMILARLY SITUATED

            82.    Plaintiff re-alleges and incorporates by reference the allegations in paragraphs 1

  through 24 above as if fully set forth herein.

            83.     During the entire relevant period, John Rader was an Executive Officer and owner

  of Rader Management and Jog Donuts.

            84.    During the relevant period, John Rader operated the day-to-day activities of Rader

  Management and Jog Donuts, had supervisory authority over Plaintiff, and was partially or totally

  responsible for paying Plaintiff’s wages for the hours she worked for both companies.

            85.    John Rader was Plaintiff’s employer, joint employer, or co-employer for purposes

  of the FLSA as the term employer is defined by 29 U.S.C. § 203 during some or all of the relevant

  period.

            86.    During her employment with Defendants, Plaintiff worked without receiving her

  wages in a “free and clear” manner required by the FLSA and, as a consequence, was not properly

  paid at least the federal minimum wage for all hours worked.

            87.    John Rader had knowledge that Plaintiff’s wages were not paid a in a “free and

  clear” manner.

            88.    Plaintiff is owed unpaid minimum wage compensation pursuant to the FLSA.

            89.    John Rader is also jointly and severally liable for double the minimum wage

  amounts owed as liquidated damages under the FLSA as a result of intentional and willful

  violations of the FLSA.

            WHEREFORE, Plaintiff respectfully requests that the Court:

            a.     Enter judgment for Plaintiff against John Rader under the FLSA;
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            b.     Award Plaintiff actual damages for the unpaid minimum wages;

            c.     Award Plaintiff liquidated damages;

            d.     Award Plaintiff attorneys’ fees and costs;

            e.     Award Plaintiff all recoverable interest; and

            f.     Award any other relief this Honorable Court deems just and proper.

                                  COUNT VIII
             MINIMUM WAGE VIOLATIONS AGAINST GLORIA RADER UNDER
                 THE FAIR LABOR STANDARDS ACT AS TO PLAINTIFF
                      AND ALL OTHERS SIMILARLY SITUATED

            90.    Plaintiff re-alleges and incorporates by reference the allegations in paragraphs 1

  through 24 above as if fully set forth herein.

            91.    During the entire relevant period, Gloria Rader was the direct contact for Plaintiff

  for employment issues and was partially or totally responsible for paying Plaintiff’s wages for the

  hours she worked for corporate Defendants.

            92.    Gloria Rader was Plaintiff’s employer, joint employer, or co-employer for purposes

  of the FLSA as the term employer is defined by 29 U.S.C. § 203 during some or all of the relevant

  period.

            93.    During her employment with Defendants, Plaintiff worked without receiving her

  wages in a “free and clear” manner required by the FLSA and, as a consequence, was not properly

  paid at least the federal minimum wage for all hours worked.

            94.    Gloria Rader had knowledge that Plaintiff’s wages were not paid a in a “free and

  clear” manner.

            95.    Plaintiff is owed unpaid minimum wage compensation pursuant to the FLSA.




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         96.    Gloria Rader is also jointly and severally liable for double the minimum wage

  amounts owed as liquidated damages under the FLSA as a result of intentional and willful

  violations of the FLSA.

         WHEREFORE, Plaintiff respectfully requests that the Court:

         a.     Enter judgment for Plaintiff against Gloria Rader under the FLSA;

         b.     Award Plaintiff actual damages for the unpaid minimum wages;

         c.     Award Plaintiff liquidated damages;

         d.     Award Plaintiff attorneys’ fees and costs;

         e.     Award Plaintiff all recoverable interest; and

         f.     Award any other relief this Honorable Court deems just and proper.

                                              JURY TRIAL

                Plaintiff hereby requests a trial by jury with respect to all claims so triable.




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  Dated: July 23, 2019
                                                 Respectfully submitted,



                                                 By: J. Freddy Perera
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